 Case 2:17-cv-00662-SPC-MRM Document 19 Filed 02/19/18 Page 1 of 2 PageID 64



                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF FLORIDA

PEGGIE SUE DYGERT,                            §
                                              §
               Plaintiff,                     §    Civil Action No. 2:17-cv-00662-UA-MRM
                                              §
               v.                             §
                                              §
BLUESTEM BRANDS, INC. D/B/A                   §
FINGERHUT,                                    §
                                              §
               Defendant.                     §
                                              §


                                 NOTICE OF SETTLEMENT

       TO THE CLERK:

NOTICE IS HEREBY GIVEN that the parties in the above-captioned case have reached

settlement. The parties anticipate filing a stipulation of dismissal of this action with prejudice

pursuant to Fed. R. Civ. P. 41 (a) within sixty (60) days.



                                              RESPECTFULLY SUBMITTED,

  DATED: February 19, 2018
                                             By: /s/ Amy L. Bennecoff Ginsburg
                                                 Amy L. Bennecoff Ginsburg, Esq.
                                                 Kimmel & Silverman, P.C.
                                                 30 E. Butler Avenue
                                                 Ambler, PA 19002
                                                 Tel: 215-540-8888
                                                 Fax: 215-540-8817
                                                 aginsburg@creditlaw.com

                                                  Attorney for the Plaintiff
 Case 2:17-cv-00662-SPC-MRM Document 19 Filed 02/19/18 Page 2 of 2 PageID 65



                               CERTIFICATE OF SERVICE

              I, Amy L. Bennecoff Ginsburg, Esquire, do certify that I served a true and correct

copy of the Notice of Settlement in the above-captioned matter, upon the following via CM/ECF

system:

Ailen Cruz, Esq.
Wiand Guerra King, P.A.
5505 W Gray St
Tampa, FL 33609
8133475139
Fax: 8133475139
Email: acruz@wiandlaw.com
Attorneys for Defendant


Dated: February 19, 2018                   By: /s/ Amy L. Bennecoff Ginsburg
                                           Amy L. Bennecoff Ginsburg, Esq.
                                           Kimmel & Silverman, P.C.
                                           30 E. Butler Avenue
                                           Ambler, PA 19002
                                           Tel: 215-540-8888
                                           Fax: 215-540-8817
                                           aginsburg@creditlaw.com
